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                               EXHIBIT 4
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                          CASE NO. 19-CV-23122-COOKE/GOODMAN

   RICARDO T. SANZ,

           Plaintiff,
   v.

   WELLS FARGO BANK, N.A.,

         Defendant.
   ______________________________________/

           PLAINTIFF, RICARDO T. SANZ’S ANSWERS AND OBJECTIONS TO
        DEFENDANT, WELLS FARGO BANK’S FIRST SET OF INTERROGATORIES

           Plaintiff, RICARDO T. SANZ (“Plaintiff”), by and through his undersigned counsel, and

   pursuant to Federal Rule of Civil Procedure 33, hereby serves his answers to Defendant, WELLS

   FARGO BANK, N.A.’s First Set of Interrogatories propounded upon Plaintiff on October 14,

   2019:

                              ANSWERS TO INTERROGATORIES

   INTERROGATORY NO. 1:                Please state your full name, (and if you have used or been

   known by any other name or nickname, please give it in full), driver’s license number, date of

   birth, your present address, and identify each address where you have resided for the past ten

   (10) years.

           ANSWER:

           Ricardo T. Sanz
           Date of Birth:            1958
           Florida Driver’s License:
           Address:
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   INTERROGATORY NO. 2:                     Please list your employers for the past 10 years, and for

   each job, please state the date(s) you were employed, the business address(es), the business

   telephone number(s), the name(s) of your immediate supervisor(s), your job title(s) and the

   reason your employment ended.

          ANSWER:

          Wells Fargo Bank, N.A.
                 Dates Employed: from 1987 to 2018
                 Title: Sr. Private Banking Manager and Senior V.P.
                 Supervisors: Jeff Haines and Jayne Hill
                 Terminated, February of 2018.


   INTERROGATORY NO. 3:                     With respect to every attempt you have made to find

   employment since your separation from employment with Defendant:

   (a) identify each employer or employment agency you have contacted;

   (b) state the date(s) of each contact;

   (c) state the jobs for which you applied;

   (d) identify any responses you received from such employers or employment agencies

   (including the reasons given, if any, for the employer's hiring decision);

   (e) identify any offers of employment you received and the terms of such offers (including

   salary and benefits);

   (f) for each position you were offered but did not accept, state the reason(s) you did not accept

   the position; and

   (g) identify each document that relates or refers to your attempts to find and your acceptance of

   any employment.

          ANSWER:

              •   City National Bank
              •   February of 2018


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             •   Discussed Private Banking Leadership Position
             •   Unable to proceed due to merger staffing issues.


          T.D. Bank
                       •   April of 2018
                       •   Discussed the organization and fit for a Private Banking leadership
                           position.
                       •   Not a match to corporate direction.

          Citi Bank
                       •   May of 2018
                       •   Made my interest known to local leaders.
                       •   Was told there was no match at this time.

          Ocean Bank
                July of 2018
                    • Discussed possibilities similar to the position held with Defendant, but it
                        was determined there was not a good fit.

          Ocean Bank - 2019
                   • Discussed a consulting opportunity with a senior executive, however, he
                        passed away before we could finalize discussions.


   INTERROGATORY NO. 4: Please list all sources of income, including self-employment,

   worker’s compensation, unemployment, disability or other sources you have received since

   January 1, 2017.


          ANSWER:

          Wells Fargo Retirement: Approximately $30,000

          Wells Fargo Stock Grant: Approximately $50,000 and declining.

          Short term estimated net rental r/e income: Approximately, $30,000. Lease expires:

          3/31/2020.




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   INTERROGATORY NO. 5: Please identify, by name, address, telephone number, employer

   and business address, every person you believe may have knowledge of the facts or

   circumstances underlying your claims in this lawsuit and/or the damages you allegedly sustained,

   and a summary of each person’s knowledge.

          ANSWER:

                 Jeff Haines
                 Market Manager
                 Subject of Information: Mr. Haines may have knowledge of all allegations made
                 in the operative complaint, including, but not limited to Defendant’s claim that
                 Plaintiff was not “on model.”

                 Jayne Hill
                 Business Line Leader
                 Subject of Information: Ms. Hill may have knowledge of all allegations made in
                 the operative complaint, including, but not limited to Defendant’s claim that
                 Plaintiff was not “on model.”

                 Greg Bronstein
                 Senior Managing Director for Southeast Region
                 Subject of Information: Mr. Bronstein may have knowledge of all allegations
                 made in the operative complaint, including, but not limited to, Plaintiff’s intention
                 to seek a promotion.

                 Representative from the Human Resources Department (name unknown)
                 Subject of Information: This Representative may have knowledge of Plaintiff’s
                 discrimination complaint.

                 Bob Peyser
                 Recruiter
                 Subject of Information: Mr. Peyser may have knowledge Defendant’s interview
                 for Plaintiff’s position while he was still employed.

                 Greg Rolle,
                 Regional Private Banking Manager
                 Subject of Information: Mr. Rolle may have knowledge of his duties.

                 Lawrence Katz
                 Former Banking Manager
                 Subject of Information: Mr. Katz may have knowledge of his demotion.




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                     Jim Mallot
                     Former Banking Manager
                     Subject of Information: Mr. Mallot may have knowledge of his demotion.

                     Whitney Oren
                     Former Wealth Manager
                     Subject of Information: Ms. Oren may have knowledge of her own separation of
                     employment and her involvement with the interview for Market Manager.

                     Mike Adams
                     Subject of Information: Mr. Adams has knowledge of his separation of
                     employment and Plaintiff’s performance.

                     Tom Joyce
                     Former Head of Trust for Miami/FTL
                     Subject of Information: Mr. Joyce has knowledge of his separation of
                     employment and Plaintiff’s performance.

                     Jeff Crosby
                     Subject of Information: Mr. Crosby has knowledge of his discussions with Greg
                     Bronstein regarding the Market Manager position and Plaintiff. =


             Bonnie Koenig- Contact info pending
             Subject of Information: Ms. Koenig was a senior private banker in Palm Beach County
             who retired under similar stressful circumstances and who is believed to have been
             targeted because of her age.


   INTERROGATORY NO. 6: Please identify, by name, business address and business telephone

   number, all doctors, psychologists, social workers and/or any other mental or physical health

   care specialists you have seen and/or consulted in any way in connection with your claims in this

   lawsuit

             ANSWER:

             None.




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   INTERROGATORY NO. 7: Please identify, by name, business address and business telephone

   number, all doctors, psychologists, social workers and/or any other mental or physical health

   care specialists you have seen and/or consulted with in any way, for any reason in the past 10

   years.

            ANSWER:

            Ray LLoret,
            Cardiologist
            305-275-8200

            Mario Almeida,
            Internal Medicine
            305-669-3360

            Hiram Rodriguez,
            Internal Medicine
            305-270-3400

            Jorge Echenique,
            Urologist
            305-448-4431

            Javier Florez,
            Dermatologist
            305-668-8201

            Jenny Machuca,
            Pulmonologist
            305-661-9404




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   INTERROGATORY NO. 8: Please identify by name, address, telephone number and

   employer, each person from whom you or anyone acting on your behalf obtained a statement(s)

   in connection with your claims in this lawsuit and identify the substance of each statement and

   the custodian of the statement.

          ANSWER:

          Plaintiff objects to Interrogatory No. 8 on the grounds that it is vague and ambiguous.
          Discovery is ongoing therefore, Plaintiff is not yet aware of any individuals he intends to
          call upon at any deposition, hearing, pretrial proceeding, trial, or any other proceeding in
          this case. Without waving said objection, none.



   INTERROGATORY NO. 9: Please separately list each item of damages you seek in this

   lawsuit and provide an estimated dollar amount for each separate item of damages you seek.

          ANSWER:

                  FCRA DAMAGES (FOR EACH COUNT)

                  a. Back Pay: approximately $395,833.33 to date;

                  b. Compensatory Damages: $2,500,000.00;

                  c. Interest: maximum interest allowed by law compounded monthly;

                  d. Front Pay: approximately $2,075,000.00;

                  e. Punitive Damages – to be determined by the trier of fact; and,

                  f. Attorney’s fees and Costs to be determined after trial.

          TOTAL: $4,970,833.33, plus applicable interest, reinstatement, punitive damages,

   attorney’s fees and costs.




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   INTERROGATORY NO. 10: If you failed to quantify (by dollar amount) any item of damages

   listed in response to Interrogatory No. 9, please explain why you are unable to quantify that item

   of alleged damages and how you intend to quantify that item of damages for trial.

          ANSWER:

   N/A



   INTERROGATORY NO. 11: For each item of alleged damages referred to in your responses

   to Interrogatory Nos. 9 and 10, please explain how that item of damages was calculated and

   identify any document(s) which evidence or support that item of damages.

          ANSWER:

          (a) Plaintiff’s back pay was calculated using his pay at the time of termination multiplied

              by the time he has been unemployed.

          (b) Plaintiff’s compensatory damages were determined based on the stress and

              humiliation he endured.

   Plaintiff’s front pay was calculated using his pay rate at the time of termination multiplied by the

   age of retirement – 70 years.




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    INTERROGATORY NO. 12: For each job you have had since you ceased being employed by

    Defendant up to and including the present:

           (a) identify the employer and state the inclusive dates of your employment;

           (b) state the job title of the job you were hired to perform;

           (c) describe in detail the nature of the responsibilities of each job;

           (d) describe in detail every change in job responsibility and/or job title during the course

           of each employment;

           (e) state the rate of pay you received when you began each employment and any changes

           in your rate of pay;

           (f) describe in detail any fringe benefits (including, but not limited to, disability

           payments, salary continuances, severance payments, medical insurance, life insurance,

           profit sharing plan, etc.) that were made available to you at each job, indicating the cost

           to you (if any) of the benefit and whether you actually received the benefit; and

           (g) identify each document that relates or refers to, or upon which you relied in

           answering this interrogatory.

           ANSWER:

           None.



    INTERROGATORY NO. 13: State whether you ever have been convicted of a crime, other

    than any juvenile adjudication, which under the law was punishable by death or imprisonment in

    excess of 1 year, or that involved dishonesty or a false statement regardless of the punishment,

    and if so, state as to each conviction the specific crime and the date and place of conviction.

           ANSWER:

           None.

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    INTERROGATORY NO. 14: Has anything been paid or is anything payable from any third

    party, including unemployment compensation benefits, for the damages claimed by you in this

    matter? If so, please state the amounts paid or payable, the name and business address of the

    person or entity who paid or owes said amounts, and which of those third parties have or claim a

    right of subrogation.

            ANSWER:

            None.




    INTERROGATORY NO. 15: If you have previously been a party to any other lawsuit (other

    than this lawsuit), arbitration proceeding, worker’s compensation action, EEOC charge, or

    bankruptcy proceeding, state the date and file number of each such suit, the name by which you

    were then known, the court (state, federal or local) in which it was brought, the name of all other

    parties, and the proper designation of the suit (e.g., if civil, personal injury, or if criminal, theft)

    and the disposition of each such lawsuit.

            ANSWER:

            I was involved in a car accident in 1976 and sued for damages. I do not recall the case

            number.




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    Dated: November 13, 2019.

                                                          Respectfully submitted,

                                                          By:/s/ Ria N. Chattergoon
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                                                          Suite 301
                                                          Hollywood, FL 33021
                                                          Telephone: (954) 400-1620
                                                          Facsimile: (954) 400-1676



                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 13, 2019, I served the foregoing document via U.S.

    Mail and electronic mail on all counsel of record or pro se parties identified on the attached

    Service List.

                                                       By:/s/ Ria N. Chattergoon

                                          SERVICE LIST
                   RICARDO T. SANZ v. WELLS FARGO BANK, N.A.
          UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
                              CASE NO.: 19-CV-23122


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